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UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
            NOTICE OF PRESENTATION OR WAIVER OF ORAL ARGUMENT


MDL No. _______
         3076   & TITLE - IN RE: FTX Cyrptocurrency Exchange Collapse Litigation

1.    Oral Argument – Check ONE of the following boxes:

              ✔     The attorney designated below shall PRESENT ORAL ARGUMENT at the Panel
                    hearing session on behalf of the designated party or parties. (Note: All attorneys
                    presenting oral argument should be mindful of Panel Rule 11.1(d)(i), which states
                    that:

                            Absent Panel approval and for good cause shown, only those parties to
                            actions who have filed a motion or written response to a motion or order
                            shall be permitted to present oral argument.

                    Also note that Rule 11.1(e) requires counsel with like positions to confer prior to
                    oral argument for the purpose of selecting a spokesperson to avoid duplication
                    during oral argument.)

                    The party or parties listed hereafter will WAIVE ORAL ARGUMENT pursuant to
                    Rule 11.1(b)(i). (Note: A party waiving oral argument need not appear at the
                    hearing session, through counsel or otherwise.)

                    The party or parties listed hereafter will WAIVE ORAL ARGUMENT IF ALL
                    OTHER PARTIES IN THIS MATTER WAIVE ORAL ARGUMENT; otherwise,
                    the attorney designated below shall present oral argument at the Panel hearing
                    session on behalf of the designated party or parties pursuant to Rule 11.1. (Note:
                    In the event of a global waiver, the parties and their counsel need not attend the
                    hearing session.)

2.    Position on Centralization – Check ONE of the following boxes:

                    Support Centralization

              ✔     Oppose Centralization

                    Other ____________________________________________________________

3.    Position on Transferee District. If you SUPPORT Centralization or if you OPPOSE
      centralization but ALTERNATIVELY SUPPORT Centralization in a particular venue(s),
      if the Panel orders centralization over your objections, indicate your proposed transferee
      district(s) here:

      ________________________________________________________________________
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4.    Change of Position from Written Response – If your position regarding Centralization or
      the choice of transferee district has changed from the position set forth in your motion or
      written response to the motion or order, check the following box:

5.    Parties Represented – Indicate party name and state whether plaintiff or defendant. Attach
      list if more than one action:
       See Exhibit A




6.    Short Case Caption(s) – Include District(s) and Civil Action No(s). Attach list if more than
      one action:
       See Exhibit A




7.    Name and Address of Attorney Designated to Present Oral Argument:

      Andrew B. Clubok
      ____________________________________________________
      Name

      Latham & Watkins LLP
      ____________________________________________________
      Law Firm

      Washington D.C.
      __________________________________________           _____
                                                            n/a
      City                                                 State


      Telephone No.: _____________________________
                      (202) 637-2200

      Email Address: _______________________________________________________
                     andrew.clubok@lw.com




_______________
   April 28, 2023      __________________________
                            Andrew B. Clubok                     /s/ Andrew B. Clubok
                                                           ______________________________
       Date                  Printed Name                        Authorized Signature




                                                                             JPML Form 9 (12/15)
